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                           UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NORTH DAKOTA

                             NORTHWESTERN DIVISION



United States Securities and Exchange        Court File No. 4:15-cv-053
Commission,



              Plaintiff,


                                            FIRST INTERIM FEE APPLICATION
        vs.                                   FOR PROFESSIONAL FEES AND
                                              EXPENSES OF RECEIVER GARY
                                                       HANSEN
North Dakota Developments, LLC, Robert L.
Gavin, and Daniel Hogan,



              Defendants,



and



North Dakota Developments Property
Management LLC, Great American Lodge
LLC, NDD Holdings 1 LLC, NDD Holdings
2 LLC, NDD Modular LLC, Augusta
Exploration, LLC, and Ames Engineering &
Development Services LLC,



              Relief Defendants.
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       For his First Interim Fee Application for Professional Fees and Expenses of Receiver

Gary Hansen (“Application”), Receiver Gary Hansen (the “Receiver”) states:

       A.       Information about the Applicant and the Application

       The Receiver was appointed on May 18, 2015 pursuant to the Court’s Order Granting

Plaintiff’s Motion for Preliminary Injunction and Appointment of Receiver, Asset Freeze, and

other Equitable Relief [Dkt. No. 20] (“Receiver Order”). This First Interim Fee Application

covers services provided by the Receiver and his law firm, known as Oppenheimer Wolff &

Donnelly LLP when he was first appointed and now known as Fox Rothschild LLP (“Fox

Rothschild”), from May 18, 2015 through November 30, 2016. The Receiver’s usual practice is

to submit regular fee applications to the Court for its consideration. The Receiver refrained from

doing so here because he determined it was more important to use the very limited receivership

funds to marshal and preserve assets. As detailed below, significant additional funds have

recently been brought into the receivership and additional funds are expected. As such, the

Receiver anticipates making regular fee applications to the Court for the remainder of the

receivership.

       Pursuant to the Receiver’s agreement with the United States Securities and Exchange

Commission (“SEC”), the Receiver reduced his hourly rate for this matter to $525. In addition,

the rate of Ranelle Leier was reduced to $400 per hour. All other rates were reduced by ten

percent, with a cap of $525. Below is a list of the names and hourly rates of all professionals and

paraprofessionals at Fox Rothschild who have provided services to the Receivership.

        Timekeeper               2015 Rate     2016 Rate

        Gary Hansen              $525.00       $525.00

        Lloyd G. Kepple II       $486.00



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  Phillip Martin                $450.00

  Ranelle Leier       $400.00   $400.00

  David Galle         $373.50   $405.00

  Matthew Lasley      $337.50   $351.00

  Cynthia Topel       $310.50

  Tyler Olson                   $306.00

  Matthew Mason                 $270.00

  Carrie Anderson     $265.50

  Nicholas Monson     $265.50   $288.00

  Bonnie Kennedy      $261.00

  Deanna Counsell               $261.00

  Colleen McGarry               $256.50

  Alex Rubenstein     $252.00   $274.50

  Peter Stiteler      $252.00   $274.50

  Thomas Moran                  $229.50

  Samuel Tunheim      $189.00

  Jennifer McGaffey   $189.00

  Stephen Overby      $171.00   $175.50

  Mae Kirby           $166.50

  Cheryl C. Grose     $157.50

  LeeAnn Carlson      $139.50

  Jennie Frith                  $135.00

  Andrew Juell                  $112.50


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       B.       Status Update

       Since his appointment, the Receiver has extensively investigated the available assets of

the receivership entities. The identified assets are far less than the approximately $60 million

contributed by investors. The Receiver has also spent significant time communicating with

creditors of North Dakota Developments, LLC (“NDD”) and the other receivership entities, as

well as the defrauded investors in NDD. Although the Receiver was able to negotiate

settlements with certain creditors resulting in additional moneys being brought into the

receivership, most of these efforts did not necessarily generate funds for the receivership.

Nonetheless, the Receiver viewed his communications with creditors and investors as important

services to be provided as part of the receivership.

       The Receiver recently closed the transaction for the sale of the Great American Lodge –

Watford West assets. Pursuant to the purchase agreement, the purchaser will pay a net purchase

price of $1,385,325.00 over a period of 18 months. The Receiver continues to market the

remaining receivership assets. The primary remaining asset is the man camp located in

Culbertson, Montana. This man camp was never operational but approximately 132 individual

housing units are located on the property. The Receiver also continues to resolve claims of

major non-investor creditors which claim a secured position in some receivership assets.

       As of the date of this filing, the receivership has approximately $1,200,000 in cash in its

bank account. The vast majority of this amount was recently received by the Receiver. For

example, in the last quarter of 2016, the Receiver received the following payments:

            •   $350,000.00 as the first installment payment from the sale of the Watford West

                assets;




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            •   $200,000 pursuant to a settlement agreement with creditor FX Drilling Company

                related to an escrow account; and

            •   Two payments totaling $437,333.37 as the receivership’s share of the settlement

                of the class action lawsuit brought on behalf of investors against the law firm of

                Pearce & Durick related to that firm’s role in the North Dakota Developments,

                LLC’s man camp developments.

       The Receiver has spent approximately $80,000.00 in administration of the receivership.

The vast majority of these expenses fall into three main categories: (1) fees and expenses related

to patrolling and upkeep at the Watford West and Culbertson sites; (2) fees paid for appraisals of

receivership assets; and (3) the payment of property taxes.

       The Receiver continues to compile creditor claims against the receivership entities.

Exclusive of investor claims, the Receiver is currently aware of creditor claims totaling in excess

of $2 million. To date, the Receiver has not paid any creditor claims. Instead, once the

receivership assets are liquidated, the Receiver will propose a distribution plan to the Court,

which will include a process for notice to all known and unknown claimants and an opportunity

for such claimants to be heard. While the final installment payment related to the sale of the

Watford West assets is due no later than May 21, 2018, the Receiver anticipates submitting a

proposed distribution plan prior to that date.

       C.       Current Fees and Expenses

       This is the Receiver’s first fee application. The Receiver is requesting approval from the

Court for the payment of attorney’s fees in the amount of $501,806.30 and expenses in the

amount of $17,235.39 for the time period May 18, 2015 through November 30, 2016. Prior to

the submission of the Application to the Court, the Receiver provided the SEC copies of the



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Application and the Receiver’s billing statements to the SEC for its review and comment. The

Receiver is also submitting the Receiver’s billing statements to the Court for in camera review.

       The chart below sets forth the billing professional or paraprofessional, the total hours

billed by each person, and the total amount of billing for each person.

       Timekeeper          Total Hours     Total Billing
 Gary Hansen                     284.10    $149,152.50
 Lloyd G. Kepple II                0.50    $243.00
 Phillip Martin                   29.30    $13,185.00
 Ranelle Leier                   709.10    $283,640.00
 David Galle                      31.50    $11,891.25
 Matthew Lasley                    6.00    $2,085.75
 Cynthia Topel                     1.40    $434.70
 Tyler Olson                       3.80    $1,162.80
 Matthew Mason                     4.80    $1,296.00
 Carrie Anderson                   8.50    $2,256.75
 Nicholas Monson                  10.10    $2,695.05
 Bonnie Kennedy                    3.70    $965.70
 Deanna Counsell                   0.90    $234.90
 Colleen McGarry                   5.10    $1,308.15
 Alex Rubenstein                  25.60    $6,916.95
 Peter Stiteler                   36.80    $9,842.85
 Thomas Moran                     16.60    $3,809.70
 Samuel Tunheim                   16.80    $3,175.20
 Jennifer McGaffey                16.50    $3,118.50
 Stephen Overby                   17.30    $2,964.15
 Mae Kirby                         0.30    $49.95
 Cheryl C. Grose                   0.50    $78.75
 LeeAnn Carlson                    4.10    $571.95
 Jennie Frith                      3.80    $513.00
 Andrew Juell                      1.90    $213.75
                               1239.00     $501,806.30




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         The expenses for which the Receiver seeks reimbursement are summarized in the chart

below.

        Expenses - 5/18/2015 - 11/30/2016
 Category                              Amount
 Court/filing fees                    $540.80
 Electronic research                  $2,206.81
 Photocopies (440 copies)             $66.00
 Courier                              $457.77
 Teleconference Services              $14.48
 Travel expenses                      $3,102.45
 Lien/title searches                  $660.00
 Business reinstatement fees          $295.00
 Checks for receivership account      $147.73
 Electronic database creation and
 storage for records                  $9,744.35
                             TOTAL $17,235.39


         The Receiver’s billing statements provide detailed time entries describing the work

performed by each timekeeper and include additional details regarding the expenses for which

the Receiver seeks reimbursement. In support of this Application, the Receiver has also

submitted a Certification indicating inter alia that all of the fees and expenses for which he is

seeking reimbursement are true and accurate and that such fees are reasonable, necessary and

commensurate with the skill and experience required for the activity performed.

         Pursuant to the Billing Instructions provided to the Receiver by the SEC, the Receiver

acknowledges that, to the extent requested by the SEC, this Application may be subject to a 20%

holdback of the requested fees and expenses, and that the total amounts held back during the

course of the receivership will be paid out at the discretion of the Court as part of the final fee

application submitted at the close of the receivership. Based upon discussions with the SEC, the

Receiver understands that the SEC will request the Court impose a 20% holdback. The Receiver


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has no objection to this request. Therefore, the Receiver respectfully requests the Court to

authorize payment to the Receiver in amount of $415,233.35. The remaining 20% of the fees

and expenses requested as part of this Application will be held by the Receiver in a segregated

account, payment of which will be considered by the Court with the Receiver’s final fee

application.

 Dated: January 11, 2017               FOX ROTHSCHILD LLP


                                       By: s/ Gary Hansen
                                          Gary Hansen (MN #40617) admitted pro hac vice
                                          Ranelle Leier (MN #277587) admitted pro hac vice

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                                       RECEIVER AND ATTORNEY FOR RECEIVER FOR
                                       DEFENDANT NORTH DAKOTA DEVELOPMENTS,
                                       LLC AND RELIEF DEFENDANTS




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